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                          Case No. 21-3418


        United States Court Of Appeals
                      FOR THE SIXTH CIRCUIT


          IN RE: E. I. DU PONT DE NEMOURS AND COMPANY
                 C-8 PERSONAL INJURY LITIGATION

                  TRAVIS ABBOTT; JULIE ABBOTT,
                         Plaintiffs-Appellees
                                  v.
             E. I. DU PONT DE NEMOURS AND COMPANY,
                         Defendant-Appellant

 On Appeal from the United States District Court for the Southern
   District of Ohio, Case Nos. 2:17-cv-00998 & 2:13-md-02433


                    Brief of Defendant-Appellant
              E. I. du Pont de Nemours and Company


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               CORPORATE DISCLOSURE STATEMENT
     Pursuant to 6th Cir. R. 26.1, Defendant-Appellant E. I. du Pont de Nemours

and Company makes the following disclosures:

     1.    E. I. du Pont de Nemours and Company, the Defendant in this case, is

           a subsidiary of Corteva, Inc., a publicly-owned corporation.

     2.    The Chemours Company, a publicly-owned corporation, is a party to

           agreements with Defendant E. I. du Pont de Nemours and Company

           that give it a financial interest with respect to claims in this proceeding.

     3.    DuPont de Nemours, Inc., a publicly-owned corporation, is also a party

           to agreements with Defendant E. I. du Pont de Nemours and Company

           that give it a financial interest with respect to claims in this proceeding.



                                              /s/ Damond R. Mace
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                                              Nemours and Company




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             STATEMENT IN SUPPORT OF ORAL ARGUMENT
      Defendant-Appellant E. I. du Pont de Nemours and Company (“DuPont”)

respectfully requests oral argument. This appeal presents the first-ever application

of non-mutual, offensive collateral estoppel in personal-injury multidistrict litigation

(“MDL”) without prior notice or ensuring the first cases were representative of the

cases being estopped. Nor did the court ensure that the outcome-determinative facts

and actually-decided issues of earlier trials were identical to those in the Abbott trial.

      The district court also excluded all evidence on the dose-response relationship

between the chemical at issue and Plaintiff’s cancers, allowing Plaintiff’s experts to

simply assume that the minimum exposure for class membership was sufficient to

prove specific causation. The court also issued novel legal rulings on Ohio’s statute

of limitations, including a directed verdict for Plaintiff on the issue despite

significant contrary evidence DuPont placed before the jury.

      Oral argument is also important because the record spans more than 10,000

entries in the Abbott, Swartz,1 and main MDL dockets. This Court’s decision will

impact numerous future cases that will be filed by some of the approximately 80,000

members of the Leach class. For that reason, if this Court reverses on collateral

estoppel, DuPont respectfully requests that it still decide the remaining issues.



 1
  The Abbott-Swartz trial involved two cases consolidated for trial. Abbott is on
appeal from a judgment for Plaintiffs, but the jury deadlocked in Swartz.

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                       JURISDICTIONAL STATEMENT
      The district court exercised diversity jurisdiction, as Plaintiffs are Ohio

residents and DuPont is incorporated and has its principal place of business in

Delaware. Am. Compl., R.29, PageID204.2 Following entry of a clerk’s judgment

on April 7, 2020, Judgment, R.230, DuPont filed post-trial motions on April 24,

2020, Combined Motion, R.233, which the district court resolved on March 29,

2021. Order, R.245; see also Stipulation, R.250. The district court entered an

amended judgment on April 26, 2021. Am. Judgment, R.251. DuPont timely

noticed its appeal on April 27, 2021. Notice of Appeal, R.262. This Court has

jurisdiction under 28 U.S.C. §1291.

                         STATEMENT OF THE ISSUES
      1.     Did the court below err by applying non-mutual offensive collateral

estoppel in this MDL, without providing prior notice to the parties, where the

potentially-outcome determinative issues across the cases are not identical, based on

general verdicts from three prior individual cases with no findings on specific issues?

      2.     Did the court err by excluding all expert testimony and evidence about

the dose-response relationship between C8 and testicular cancer, and the amount of


 2
   Unless otherwise noted, record citations are to the docket in Abbott, No. 2:17-cv-
00998. Other dockets cited include the MDL (2:13-md-02433), Swartz (2:18-cv-
00136), Freeman (2:13-cv-1103), Vigneron (2:13-cv-00136), Bartlett (2:13-cv-
00170), the Bartlett Appeal (6th Cir. 16-3310), and the Mandamus Petition (6th Cir.
19-4226). See Order, R.240, PageID12221 (clarifying scope of record).

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Mr. Abbott’s increased risk based on his specific C8 blood level, and by allowing

his expert to assume specific causation based on class membership?

      3.     Did the court err by taking the statute of limitations issue away from

the jury, where DuPont presented extensive evidence Mr. Abbott had notice of the

link between C8 and testicular cancer more than two years before filing suit?

                           STATEMENT OF THE CASE
      DuPont used C8 (perfluorooctanoic acid) as a processing aid to manufacture

Teflon at a West Virginia plant until early 2013, and under environmental permits

discharged C8 into the Ohio River and the air. By 2006, DuPont was filtering local

drinking water to remove C8. Previously, trace amounts of C8 were present in

different amounts in different nearby water districts.

      In 2001, a class action in West Virginia state court, Leach v. E. I. DuPont de

Nemours & Co., No. 01-C-608, (W. Va. Cir. Ct.), alleged that C8 was dangerous,

and may cause disease. That class primarily sought medical monitoring, and the

case was resolved in 2005 with a state-court approved settlement agreement (the

“Leach Agreement,” MDL R.2813-1, PageID45944). The class settlement benefits

are ongoing for the life of the class, and include, among other things, an early

medical screening program, and water treatment to remove C8 from public and

private drinking water.




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      The settlement left open the possibility of individual personal-injury claims.

Eventually thousands of class members filed individual lawsuits, claiming different

exposures to C8 in different places ranging from the 1950s to 2007. Those lawsuits

were centralized for pre-trial purposes into the C8 Personal Injury MDL.

I.    The District Court’s Ruling on Collateral Estoppel.
      A.     The court told the parties the early trials were meant to be
             instructive, but not preclusive.
      From the outset of the MDL, DuPont confirmed with the court that the early

trials would not create collateral estoppel. Transcript, MDL R.34, PageID218-19

(“Let me just make the record clear that we won’t be committed to anything. We

won’t be collaterally estopped on any of the following cases.”). The court agreed,

holding “that its decisions are ‘dispositive only on the claims’ before it and

‘instructive to claims filed by other plaintiffs.’” Order, MDL R.4184, PageID80083.

      As the trials began, the court confirmed that the “special purpose” of the early

trials was “information gathering that may lead to a global settlement.” Order, MDL

R.4382, PageID93365-66. In support, it quoted descriptions of other MDLs where

“[t]he ultimate purpose of holding bellwether trials … was not to resolve the

thousands of related cases pending in either MDL in one ‘representative’

proceeding.” Id. (quoting Bellwether Trials, infra, at 2332).

      When new cases were filed after the 2017 settlement of all then-pending cases,

the court again stated that the parties could preserve previously decided issues for


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future appeals: “My assumption is you don’t want to be hamstrung to say that you

can’t reargue something…. I’ve never taken that view.” Transcript, MDL R.5179,

PageID125537-39. It acknowledged that DuPont was filing preservation motions

“for the record, and those are always welcome so we’ll continue that course.” Id. It

recognized the preservation of issues that were “litigated and adjudicated” in the

prior cases: “any party may preserve for appeal their objections to one or more of

the Court’s prior rulings … by making a short filing.” Order, MDL R.5188,

PageID125608. DuPont continued to make numerous preservation filings. Notice of

Preservation, Swartz R.92; Response Swartz R.66 (“DuPont continues to preserve,

and does not waive, any of its arguments and positions … and incorporates by

reference all current and prior relevant briefing and oral arguments in the MDL and

the individual cases on these issues.”); Motions, R.60, R.61, R.62 (parallel

preservation motions in Abbott, incorporating Swartz filings).

      B.    The earlier trials involved significantly different facts and different
            negligence claims from the Abbott-Swartz trial.
      Early in the MDL, 20 cases were selected for discovery from the 80 then-

pending MDL cases. Order, R.194, PageID3695. Six of the 20 were later chosen

for bellwether trials. Order, MDL R.602, PageID9276.

      The first bellwether jury awarded $1.6 million in compensatory damages on a

kidney cancer claim, and found no punitive liability.        Order, MDL R.5285,

PageID128544. DuPont appealed. See 6th Cir. No. 16-3310. The second bellwether


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settled, and the third was withdrawn by plaintiff. The fourth, Freeman, resulted in

$5.1 million in compensatory damages and $500,000 in punitive damages.

Transcript, Freeman R.117, PageID3777. The last two bellwethers settled.

       Over DuPont’s objection, the court then allowed plaintiffs’ counsel to

unilaterally select the next 40 cases for individual trials. Transcript, MDL R.4461,

PageID96026-31; Letter, MDL R.4535-3, PageID98589. Plaintiffs successfully

argued that “the representativeness of the trial selections should be of no moment,”

Letter, MDL R.4535-2, PageID98584, and selected their strongest cases (out of over

3,500). The next trial (Vigneron) involved a plaintiff whose drinking water was

sourced within 1,500 feet of DuPont’s plant.

       Those early cases presented different negligence claims from those in Abbott:

 Freeman and Vigneron alleged that DuPont should have known they were in
  danger because their drinking water exceeded DuPont’s voluntary 3 ppb
  community safe exposure guideline for C8. Transcript, Vigneron R.144,
  PageID2801; Transcript, Freeman R.119, PageID4385. In contrast, the Abbott-
  Swartz plaintiffs admitted their water was always below DuPont’s safe exposure
  guideline—and they did not claim negligence based on violation of DuPont’s
  internal guidelines. Transcript, R.190, PageID8044.

 Freeman and Vigneron claimed negligence because DuPont knew there was C8
  in their drinking water for over a decade before it warned them. See, e.g.,
  Transcript, Freeman R.108, PageID1678-80. The Abbott-Swartz plaintiffs
  conceded DuPont did not know there was any C8 in their water prior to it
  becoming widely and publicly known in 2001. Transcript, R.188, PageID7684-
  85, 7692-93.

   Freeman and Vigneron alleged negligence based on their exposure from C8 air
    emissions, in addition to water emissions. See, e.g., Transcript, Freeman R.108,


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     PageID1842. The Abbott-Swartz plaintiffs were not affected by air emissions.
     Transcript, R.186, PageID7384.
See also Mandamus Petition, R.1-2 at 20-25, (discussing important differences

between Abbott-Swartz cases and earlier trials).

        The general verdict in each prior trial focused on the specific plaintiff, and did

not specify which acts or omissions of DuPont were negligent.               See Verdict,

Vigneron R.176, PageID8220 (“Do you find in favor of Mr. Vigneron on his

negligence claim?”). Each jury decided only whether DuPont breached a duty to

someone in that specific plaintiff’s position. Instructions, Vigneron R.195,

PageID8617 (asking if DuPont should have “foreseen at the relevant time that injury

was likely to result to someone in Mr. Vigneron’s position”).

        The parties settled the thousands of then-pending MDL cases in February

2017. The parties dismissed all pending cases, including a joint dismissal of the

appeal from the first trial. Dismissal Order, Bartlett R.164, PageID8361; Joint

Motion to Dismiss, Bartlett Appeal R.41.

        C.    The district court then applied non-mutual, offensive collateral
              estoppel.
        Additional cases, including Abbott, were filed soon after the February 2017

settlement.3 The new plaintiffs generally lived much farther away from DuPont’s


 3
   In January 2021, all then-pending cases in the MDL except Abbott were settled in
a second multi-case settlement. The Plaintiffs’ Leadership Counsel subsequently
filed a still-pending, unopposed motion (MDL R.5387) to terminate the MDL.

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plant than the plaintiffs in the earlier trials, in areas where DuPont did not know that

any C8 was present, and in areas that never exceeded DuPont’s own guidelines for

C8. Response, MDL R.5208, PageID125922-24, 125934-38 (discussing the makeup

of the post-settlement MDL cases).

      Before the Abbott-Swartz trial, however, despite these and other critical fact

and issues differences, the court applied non-mutual, offensive collateral estoppel,

and precluded DuPont from contesting the duty, breach, and foreseeability elements

of negligence, along with certain rulings relating to causation and tort reform, for all

current and future plaintiffs. Order, MDL R.5285, PageID128582, 128570-71.

Granting summary judgment on these matters to Plaintiffs, the court ruled that only

specific causation and damages remained for trial (and loss of consortium, where

applicable). Id., PageID128582.

      DuPont sought a writ of mandamus. Mandamus Petition, R.1-2. This Court

recognized that “DuPont has made a vigorous and perhaps compelling argument that

the district court erred as a matter of law,” but denied the extraordinary writ, and

limited DuPont to a normal-course appeal. Order, Mandamus R.23-2 at 5.

II.   The Trial Court’s Rulings on Specific Causation.

      A.     The Leach Agreement created a Science Panel to study C8 and
             human disease.
      The Leach Agreement provided that DuPont would pay up to $235 million for

medical monitoring for a broad settlement class including anyone who drank water


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“containing a quantifiable (greater than or equal to .05 ppb) amount of C8” from

certain areas for “at least one year.”         Leach Agreement, MDL R.2813-1,

PageID45928 (emphasis added). The class definition is the only place in the Leach

Agreement that refers to the .05 ppb value, which modifies the word “quantifiable.”

Id. The .05 ppb threshold was the “minimum” concentration of C8 that scientists

could quantify “with known precision and accuracy” in 2004, when the Leach

Agreement was signed. Id.; Transcript, R.190, PageID8041.

      The Leach Agreement asked three epidemiologists, called the “Science

Panel,” to determine whether a “Probable Link” existed between C8 and various

diseases. Leach Agreement §12.2.3, MDL R.2813-1, PageID45944-46. “Probable

Link” is a term of West Virginia law, defined in the Leach Agreement as “it is more

likely than not that there is a link between exposure to C8 and a particular Human

Disease among Class Members.”           Id., §1.49, PageID45926-27.        The Leach

agreement (at §1.6) refers to Bower v. Westinghouse Elec., 522 S.E.2d 424, 433-33

(W.V. 1999), which explained that a “probable link” means there is “an enhanced

risk of disease” but not that disease “is certain or even likely to occur as a result of

exposure.” As counsel for the Leach class told the Science Panel, the “more lenient

‘probable link’ standard” is “a lower standard of proof” than would be required for

“a finding of causation.” Letter, MDL R.2813-2, PageID46004-05.




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      The Leach Agreement allowed for the possibility of future individual personal

injury claims, but made important distinctions between general and specific

causation. DuPont agreed it would “not contest the issue of General Causation

between C-8” and testicular cancer (or any other disease) for which the Science

Panel made “a Probable Link Finding.” Leach Agreement, §3.3, MDL R.2813-1,

PageID45931-32. In the same sentence, however, Leach class members agreed that

DuPont fully preserved its right to contest “Specific Causation.” Id. The agreement

defines General Causation in terms of diseases, id., §1.25, PageID45925 (whether

“it is probable that exposure to C-8 is capable of causing a particular human

disease”), but defines Specific Causation in terms of individuals, id., §1.60,

PageID45927 (whether “it is probable that exposure to C-8 caused a particular

human disease in a specific individual”).

      B.     The Science Panel found that the amount of risk of getting
             testicular cancer increases with substantially increased cumulative
             blood levels of C8.
      The Science Panel spent seven years reviewing the science on C8 and

conducting its own epidemiological studies, which included assessing information

collected from people in communities around the DuPont plant. In its 2012 report

on cancer, the Science Panel found a “Probable Link” between C8 and testicular

cancer, in part because the data showed that residents with higher cumulative C8

blood levels had a greater cancer risk than other residents with lower C8 blood levels.



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Science Panel Report, MDL R.2813-4, PageID46017, 46019. The Science Panel

studied the amount of “relative” risk for different C8 blood levels. The risk was

highest in Little Hocking, “the most highly exposed water district,” where Mr.

Vigneron and Mr. Freeman (but not Mr. Abbott) obtained their water.            Id.,

PageID46013-14.

      For example, in one of their studies, the Science Panel concluded that any

materially increased risk of testicular cancer in the Leach class members from C8

was limited to people in the “very high exposure category.”         Science Panel

Publication, R.259-1, PageID18432. The Science Panel data showed that people

like Mr. Abbott, in the “high, medium, or low exposure categories” (C8 blood levels

between 3.7 to 109 ppb (µg/L)) had no increased risk for testicular cancer from C8.

Id., PageID18433. The data showed that people in those exposure categories had

adjusted odds ratios (“AORs”) of 0.3, 0.6, and 0.2, respectively, meaning that they

had no increased risk. Id.




Id. (other cancers removed; red boxes added; an AOR needs to be above 1.0 for the

data to show an increased risk from C8).


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      Mr. Abbott had a C8 blood level of 33.1 ppb (µg/L) in 2006, see Transcript,

R.190, PageID7964, much lower than the “very high” category (those above 110

ppb (µg/L)) for which the Science Panel’s publications found an AOR over 1.0,

which could indicate an increased risk of testicular cancer.           Science Panel

Publication, R.259-1, PageID18432-34.

      The Science Panel did not determine that the minimum quantifiable amount

of C8, .05 ppb, was meaningful in terms of outcomes, or that testicular cancer was

likely to occur at that exposure level. Science Panel Report, MDL R.2813-4,

PageID46017.     The .05 ppb number was never mentioned in its report.            See

Transcript, R.261-2, PageID20038 (Mr. Abbott’s causation expert admitting in a

proffer that the Science Panel “did not conclude as a matter of science that .05 parts

per billion of C8 in drinking water is capable of causing testicular cancer”).

      C.     The court excluded all expert questioning and evidence on Mr.
             Abbott’s amount of increased risk of cancer based on his individual
             dose of C8, and excluded all affirmative specific causation opinions
             by DuPont’s experts.
      Despite the Science Panel’s findings that the risk of cancer varied with

different C8 blood levels, the court ruled that DuPont could not contest that C8 was

a likely cause of Mr. Abbott’s testicular cancer.            Order, MDL R.5214,

PageID126051 (“The Probable Link Finding means that … it is more likely than not

that there is a link between his or her exposure to C8 … and his or her” disease)

(emphasis added). It held that expert opinions on the dose-response relationship


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between C8 and testicular cancer would be misleading because “the whole point of

the Science Panel was that very low doses of this is dangerous.” Transcript, R.261-

2, PageID20002.

      Accordingly, the court held that Mr. Abbott’s class membership alone (i.e.,

exposure to .05 ppb of C8 for one year) was sufficient to prove that C8 was a likely

cause of his cancer. See Order, MDL R.4113, PageID78030 (exposure to .05 ppb

sufficed to show that “it is more likely than not that there is a link between that class

member’s exposure to C8 and his” disease) (emphasis added); see also Order, MDL

R.3972, PageID68171 (plaintiff need not prove “her dose” of C8 because proving

class membership at .05 ppb is enough to prove “it is ‘more likely than not that there

is a link between exposure to C-8 and her kidney cancer”) (emphasis added).

      Based on those rulings, the court made several key decisions that controlled

the expert opinions and evidence the jury was allowed to hear:

      (a) The court barred DuPont’s experts from opining that C8 was not a likely

cause of Mr. Abbott’s cancers, believing that such opinions violated DuPont’s

agreement not to contest general causation. Order, MDL R.5294, PageID128746

(excluding DuPont’s specific causation experts); Order, R.107, PageID3815.

Specifically, it excluded: 1) any expert “analysis” calculating the amount of

“increased risk” to Mr. Abbott based on his individual dose of C8; 2) any opinion

that Mr. Abbott’s specific exposure to C8 created “only a small” or “a 10% increased


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likelihood” of developing cancer; and 3) any claim that C8 was not a “significant

contributing factor” to Mr. Abbott’s cancer. See, e.g., Order, R.125, PageID4406-

08; Order, Swartz R.135, PageID4574-78. The court also prevented DuPont’s

specific causation expert from opining that a well-established testicular cancer risk

factor, Germ Cell Neoplasia In Situ (“GCNIS”), was more likely to have caused Mr.

Abbott’s cancer than C8. Order, R.125, PageID4406-08. It also forbade DuPont

experts from opining that a class member’s cancer was more likely caused by other

(non-C8) factors, or that “minimal exposure to C8” creates a minimal increased risk

of cancer. Order, MDL R.4226, PageID81632-35; Order, MDL R.4079,

PageID71855 (same).

      (b) The court allowed Plaintiffs’ experts to rely solely on its rulings about

the Science Panel to opine that C8 caused Mr. Abbott’s testicular cancers, freeing

them from the need to “evaluate the relative risk of C8 causing testicular cancer in

this case.” Transcript, R.195, PageID8842-43. For example, Mr. Abbott’s specific

causation expert never determined Mr. Abbott’s C8 dose, and never evaluated Mr.

Abbott’s level of increased risk of cancer from his C8 blood level, but instead

“determined that he had a sufficient level of exposure to C8 to cause his testicular

cancers” for no other reason than because Mr. Abbott “met the definition of a class

member.” Transcript, R.261-2, PageID19999.




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       (c) The court kept the Science Panel’s Report and data from the jury, even

while allowing Plaintiffs’ expert to use it to bolster his testimony, and even after the

jury specifically asked to see the report. See infra pp. 39-40; Transcripts, R.207,

PageID11169; R.200, PageID9805-06 (rejecting DuPont’s proffer of the Science

Panel’s Report and data); PageID9459 (same); Trial Proffer, R.261-2, PageID20038,

20045-49 (proffer regarding Science Panel). Instead, over DuPont’s objection, the

court instructed the jurors that .05 ppb was “the Science Panel’s threshold” and that

the number was relevant to their decision on causation.           Transcripts, R.185,

PageID7139; R.203, PageID10347 (instructing jurors the Science Panel “linked” the

.05 ppb number to testicular cancer); R.193, PageID8434 (same). The court also

excluded any substantive evidence on the Science Panel’s discussion of the dose-

response relationship. The court forbade any expert testimony or cross-examination

about “the content of the Science Panel’s analysis in reaching its Probable Link

Finding related to testicular cancer.” Order, MDL R.4777, PageID108894. It also

rejected DuPont’s requests for an instruction that the “0.05 ppb number has nothing

to do with the specific causation issue that you need to decide.” Limiting Instruction

Request, R.164-3, PageID6289.

III.   The Abbott-Swartz consolidated trial.
       The jury awarded Mr. Abbott, who had two testicular cancers (in 1994 and

2015) $40 million in damages, and Mrs. Abbott $10 million for loss of consortium.



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Verdict, R.183. The jury rejected punitive damages, and failed to reach a verdict in

Swartz. Id.; Swartz R.190. After trial, DuPont moved for application of the Ohio

Tort Reform Act to Mrs. Abbott’s loss of consortium award, which the court granted.

Order, R.245, PageID12355. DuPont also moved for remittitur, which the court

denied. Id., PageID12356.

                           SUMMARY OF ARGUMENT
      Three issues require reversal and remand:

      1.     The court’s unprecedented application of non-mutual, offensive

collateral estoppel stripped DuPont of important negligence defenses at the Abbott-

Swartz trial and all future trials, violating DuPont’s right to due process. The ruling

was based on three unrepresentative early trials (out of 3,500 cases) that were not

supposed to be preclusive and resulted in general verdicts only. Order, MDL

R.4184, PageID80083. The court erred by disregarding Sixth Circuit precedent that

“offensive collateral estoppel c[annot] be used in mass tort litigation,” In re

Bendectin Prod. Liab. Litig., 749 F.2d 300, 305 n.11 (6th Cir. 1984), and by ignoring

black-letter law that previous “actually” decided issues must be “identical” to those

in the current case, CHKRS, LLC v. Dublin, 984 F.3d 483, 491 (6th Cir. 2021). See

In re Nat’l Prescription Opiate Litig., 956 F.3d 838, 844 (6th Cir. 2020) (“MDLs

are not some kind of judicial border country, where the rules are few and the law

rarely makes an appearance.”).



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      Here, two early trial plaintiffs drank water sourced from wells only 1/4 mile

from DuPont’s plant; claimed DuPont knew their water contained C8 for more than

15 years but failed to warn them; and claimed the C8 levels in their water exceeded

DuPont’s own safety guidelines. In contrast, Mr. Abbott drank water sourced from

wells 14 to 56 miles away from DuPont’s plant; did not claim DuPont knew his

water contained any C8; and admitted his C8 exposure was always below DuPont’s

safety guidelines. These material fact differences are critical to whether DuPont was

negligent towards Mr. Abbott. The court erred when it took key issues from the jury

based on three general verdicts from non-representative individual trials.

      2.     In the Leach Agreement, DuPont contractually promised not to contest

general causation (that C8 is capable of causing testicular cancer). Class members

like Mr. Abbott, however, agreed that DuPont fully preserved specific causation

defenses (whether C8 more likely than not caused Mr. Abbott’s testicular cancer).

Ruling that any inquiry into the dose-response relationship or weighing Mr. Abbott’s

relative risk from his specific C8 blood level would be an attack on general

causation, the court gutted DuPont’s right to contest specific causation by:

    excluding all evidence regarding the dose-response relationship between C8
     and Mr. Abbott’s disease (including Mr. Abbott’s specific amount of
     increased risk from his C8 blood level);

    instructing the jury (contrary to the actual science) that the barely-quantifiable
     level of .05 ppb of C8 was sufficient to likely cause Mr. Abbott’s cancer;




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          allowing Mr. Abbott’s expert to assume that C8 likely caused Mr. Abbott’s
           cancer based on his class membership, instead of his specific dose, or risk;
           and

          barring any expert opinions that Mr. Abbott’s cancer was not specifically
           caused by C8, and instead was more likely caused by something else.

In short, the district court interpreted DuPont’s agreement not to contest general

causation to preclude critical facts and argument applicable to specific causation.

            3.    The court removed from the jury DuPont’s statute of limitations

defense regarding Mr. Abbott’s 1994 and 2015 testicular cancers, despite copious

evidence that any reasonable person in Mr. Abbott’s position would be on notice of

the potential link between C8 and testicular cancer more than two years before his

2017 complaint.4

                                        ARGUMENT

I.          The District Court Improperly Applied Non-Mutual, Offensive
            Collateral Estoppel to Take Plaintiff-Specific Issues Away From the Jury.
            The court’s application of non-mutual, offensive issue preclusion in this mass

tort MDL improperly relieved Plaintiffs from proving fundamental elements of their

case. The court used plaintiff-specific verdicts from three early MDL trials to decide

the duty, breach, and foreseeability elements of negligence claims brought by other


   Reversal of Mr. Abbott’s claim also requires reversal of Mrs. Abbott’s derivative
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claim for loss of consortium. See, e.g., Young v. Zukowski, 2010-Ohio-3491, ¶13
(Ct. App, July 28, 2010) (holding loss of consortium is “a derivative action” whose
existence is “dependent upon the existence of a primary cause of action and can be
maintained only so long as the primary action continues”).

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plaintiffs with quite different circumstances.     Preclusion Order, MDL R.5285,

PageID128531. On mandamus review, this Court noted: “DuPont has made a

vigorous and perhaps compelling argument that the district court erred as a matter

of law.” Mandamus R.23-2 at 5. On de novo review, and placing the burden on

Plaintiffs to establish that preclusion applies, this Court should vacate the preclusion

order and remand for a new trial. See Abbott v. Michigan, 474 F.3d 324, 331 (6th

Cir. 2007); Knott v. Sullivan, 418 F.3d 561, 568 (6th Cir. 2005).

      In this Circuit, offensive issue preclusion is not available “in mass tort

litigation.” Bendectin, 749 F.2d at 305 n.11 (citing Parklane Hosiery Co. v. Shore,

439 U.S. 322, 330 n.14 (1979)). Indeed, courts and commentators universally agree

that collateral estoppel is a dangerous tool for an MDL court and, if used at all, at

least requires both statistically representative cases and prior notice. See In re

Chevron U.S.A., 109 F.3d 1016, 1020 (5th Cir. 1997); Dodge v. Cotter Corp., 203

F.3d 1190, 1200 (10th Cir. 2000). Applying preclusion in an MDL goes only one

way—against defendants. It is unfairly prejudicial and a denial of due process to

use general verdicts from three individual cases to prove the individual claims of

thousands of other, differently-situated plaintiffs in an MDL. It is especially unfair

for the court to reverse course and apply preclusion from prior verdicts and rulings

despite assurances that its decisions would be non-binding in future cases. Order,

MDL R.4184, PageID80083; Order, MDL R.4382, PageID93365-66.


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       The court’s application of offensive preclusion failed basic requirements of

preclusion law. As this Court recently emphasized, an MDL court must respect “the

parties’ rights in an individual case” and cannot “distort or disregard the rules of law

applicable to each of those cases.” Nat'l Prescription Opiate Litig., 956 F.3d at 841.

“[E]nhancing the efficiency of the MDL as a whole” is no reason to disregard “the

same legal rules that apply in other cases.” Id. at 841, 844. The court did not follow

those “same legal rules,” instead imposing estoppel based on a “community” theory

of negligence, Preclusion Order, MDL R.5285, PageID128574-75, despite

numerous potentially outcome-determinative differences between Mr. Abbott and

the earlier trial plaintiffs.

       A.     Ordering preclusion without notice or representative cases was
              unfairly prejudicial, and deprived DuPont of due process.
       In Parklane Hosiery, the Supreme Court forbade “the use of offensive

collateral estoppel” where it “would be unfair to a defendant.” 439 U.S. at 330-31

& 347 n.14. It worried about situations like this case, where unrepresentative trials

control later-filed cases with different facts and issues. See id. Applying Parklane

in a mass tort case, this Court held that “offensive collateral estoppel c[annot] be

used in mass tort litigation.” Bendectin, 749 F.2d at 305 n.11.




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      Ohio law also generally forbids non-mutual, offensive preclusion, and no

Ohio court has allowed it in these circumstances.5 While the estoppel consequences

of the first case are a matter of federal law that incorporates state law, the district

court concluded that federal law is unshackled from state law due to an interest in

national uniformity and MDL practice. Order, MDL R.5285, PageID128557 (citing

Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497 (2001)).

      The court’s decision, however, was contrary to both this Court’s precedent

and the decisions of every other circuit to address the issue. For example, in

Bendectin the lower court had certified a mass tort class action due to its belief that,

if the cases proceeded as individual actions (as they typically do in MDLs), estoppel

would “bind the defendant on issues of liability if any plaintiff were to win a suit

against it.” 749 F.2d at 305. This Court disagreed, and noted that the “concern”

about mass tort estoppel “has been eliminated by the Supreme Court’s curtailment

of the use of offensive collateral estoppel in” Parklane Hosiery. Id. The application


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 The Order was wrong under both Ohio and federal law. The court concluded that
Ohio law also supported application of preclusion. Order, MDL R.5285,
PageID128564. But DuPont is unaware of any modern Ohio case applying non-
mutual, offensive preclusion.       The case cited by the district court, id.,
PageID128566, Goodson v. McDonough Power Equip., 443 N.E.2d 978 (Ohio
1983), affirmed Ohio’s general rule against non-mutual, offensive preclusion, and
limited an old case applying offensive estoppel to its facts (Hicks v. De La Cruz, 369
N.E.2d 776 (Ohio 1977)). And there is no mutuality here, as required by Ohio
law. Contrast Order, PageID128566, with O’Nesti v. DeBartolo Realty, 862 N.E.2d
803, 806 (Ohio 2007) (“Mutuality … exists only if ‘the person taking advantage of
the judgment would have been bound by it had the result been the opposite.’”).

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of Parklane Hosiery was thus essential to Bendectin’s holding, and not mere dicta,

as the district court believed. See Order, MDL R.5285, PageID128563. See also In

re Air Crash Disaster at Stapleton Int'l Airport, 720 F. Supp. 1505, 1533 (D. Colo.

1989) (binding present and future MDL cases “to the verdicts of the exemplar trial

…. would be clearly beyond the powers of this court,” and noting that an MDL court

cannot “create broad new powers, inconsistent with established legal principles”).

      No circuit court has ever allowed an MDL court to make bellwether trial

results preclusive on all the other individual cases in an MDL. Even the few

decisions from other jurisdictions suggesting preclusion could potentially apply to

an MDL have required due process safeguards: At the least, there must be advance

notice that the bellwethers could be preclusive, and the bellwethers must be selected

to present a statistically representative sample of all the cases.

       In Chevron, 109 F.3d at 1020-21, the district court planned to try 30 of 3,000

MDL cases, with each side selecting 15 cases. Id. The trial would be preclusive on

both “general liability” and “general causation” for all 3,000 cases. Id. The Fifth

Circuit rejected this plan for lacking “the minimal level of reliability necessary for

the imposition of such liability” without a sufficient number of trials to be

statistically representative. Id. at 1020. Here, neither of the two bellwether trials

were statistically representative of the thousands of other individual plaintiff claims,

and neither was representative of Mr. Abbott’s case. And the court recognized that


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the third trial, Vigneron, was not chosen to be representative. Transcript, MDL

R.4461, PageID96026-27.

      In addition, the Tenth Circuit has forbidden collateral estoppel in toxic tort

cases without prior notice and express agreement of the parties. Dodge, 203 F.3d at

1200 (“If the parties intended to bind subsequent litigation with the results of prior

test trials, the record must clearly memorialize that agreement.”). See Judge Fallon,

Bellwether Trials in Multidistrict Litig., 82 Tul. L. Rev. 2323, 2331-32 & n.26-27

(2008) (bellwethers should not “somehow have a binding effect” and “the results of

bellwether trials are not properly binding on related claimants unless those claimants

expressly agree to be bound by the bellwether proceedings”) (collecting authority).

      In contrast, the court and the parties here agreed throughout the earlier stages

of the MDL that the early trials and rulings would be “dispositive” only as to

individual plaintiffs, and merely “instructive to claims filed by other plaintiffs.”

Order, MDL R.4184, PageID80083; Order MDL R.4624, PageID100947 (purpose

was “information gathering” not a “‘representative’ proceeding”); see supra at pp.

4-5; see Dunson v. Cordis Corp., 854 F.3d 551, 555 (9th Cir. 2017) (“when plaintiffs

propose a bellwether trial …, we presume that they mean a bellwether trial in which

the results will not be binding … but will instead be used for informational purposes

only”). The court later reiterated that it had “never taken th[e] view” that DuPont

could not contest prior rulings, that DuPont “had the right” to argue prior issues in


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“a different case,” and that “we’ll continue that course.” Transcript, MDL R.5179,

PageID125537-39. The court’s representations that bellwethers were meant for

information-gathering, and that its rulings could be challenged in future individual

cases, made preclusion particularly unfair. See Parklane, 439 U.S. at 331 (offensive

estoppel not allowed where “unfair to a defendant”).

      The only judicial decision the court cites as binding parties to a bellwether

verdict was careful to emphasize “the notice all parties had going into the bellwether

trial as to what issues might be accorded preclusive effect,” including that liability

findings would “almost certainly be given preclusive effect.” Adams v. United

States, 2010 U.S. Dist. LEXIS 116052, *11, 13 (D. Idaho Oct. 29, 2010). That court

also used a 47-question special verdict with detailed findings to avoid ambiguity on

the specific issues being decided. Id., *16. In contrast, here, not only was there no

prior notice or agreement, but the general verdict forms used in the early trials only

asked if DuPont was negligent as to that specific plaintiff.

      Had DuPont known the early trials would be preclusive, its strategy in

selecting, trying, and settling bellwethers would have been different, resulting in

cases more representative of the MDL as a whole. DuPont also would have

requested detailed special verdicts in all trials, including the non-bellwether

Vigneron that Plaintiffs’ were allowed to cherry-pick, to clarify what the jury was




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(and was not) deciding. Instead, DuPont was assured that rulings, findings, and

outcomes in early trials were binding as to those specific plaintiff’s cases only.

      More broadly for trial practice in this Circuit, the court’s preclusion order

makes the MDL bellwether process a no-win proposition for defendants: early trial

victories for the defendant would not bind future plaintiffs, but early losses make the

defendant negligent to all plaintiffs in the queue—regardless of the different fact

situations of different plaintiffs.     This unfairly tilted playing field threatens

extortionate and unfair settlement pressure on defendants. See In re Rhone-Poulenc

Rorer Inc., 51 F.3d 1293, 1305 (7th Cir. 1995) (reversing to prevent “intense

pressure to settle” prior to an involuntary single trial on mass tort liability); Chevron,

109 F.3d at 1017, 1022 (Jones, J. concurring) (the extraordinary “pressure on the

parties to settle” an “all-or-nothing” bellwether trial would violate due process).

      B.     The plaintiff-specific verdicts in the prior trials should not have
             been given preclusive effect in the Abbott-Swartz trial.
      The plaintiff-specific general verdict forms and related jury instructions from

the early trials also prevent preclusion. It is well-settled that, “[w]hen there are

several possible grounds on which a jury could have based its general verdict and

the record does not make clear which ground the jury relied on, collateral estoppel

does not attach to any of the possible theories.” United Access Techs. v. CenturyTel

Broadband Servs., 778 F.3d 1327, 1331 (Fed. Cir. 2015). The jurors in the three

prior trials found that DuPont was negligent with respect to three individual


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plaintiffs—not anyone else. For example, in Freeman, the negligence instruction

required jurors to find that a reasonable person “would have foreseen at the relevant

time that injury was likely to result to someone in Mr. Freeman’s position.” Jury

Instructions, Freeman R.102, PageID1050 (emphasis added); see Instructions,

Vigneron R.195, PageID8617 (same); Instructions, Bartlett R.139, PageID6205

(same). Each verdict form required a finding about someone in the position of that

individual plaintiff. Verdict, Freeman R.97, PageID1011 (“Do you find in favor of

Mr. Freeman on his negligence claim.”). The juries did not decide other issues or

identify the basis for their general verdicts.

      The court bypassed the individual differences in the cases by erroneously

claiming that the prior “verdicts made clear that the duty DuPont breached was to

the entire communities surrounding its Washington Works plant and not just to

specific customers of individual water districts.”              Order, MDL R.5285,

PageID128574-75 (emphasis added). Based on this reasoning, the court repeatedly

instructed the jury that negligence was already determined for the Abbott-Swartz trial

plaintiffs. See, e.g. Transcripts, R.186, PageID7194; R.193, PageID8385-86; R.207,

PageID11148. This was error.

      Courts uniformly reject attempts to use general negligence verdicts to create

community-wide preclusion for other plaintiffs. For example, Dodge, 203 F.3d at

1192, 1198, involved hundreds of plaintiffs, decades of operations, and nearly a


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dozen theories of negligence, including failure to test and failure to train employees.

An earlier jury returned a general verdict of negligence. Id. The Tenth Circuit

reversed the lower court’s application of collateral estoppel to later plaintiffs in part

because the original verdict did not “specify what negligent act formed the basis of

the general finding of negligence” making it “not possible to know the compass of

the [prior] jury’s finding of negligence.” Id. at 1197-98.

       Similarly, in Hardy v. Johns-Manville Sales Corp., 681 F.2d 334, 343-44 (5th

Cir. 1982), a first jury found liability for failure to warn, but the Fifth Circuit refused

preclusion in a later case because the verdict was “ambiguous as to certain key

issues,” including “what the [first jury] decided about when a duty to warn attached.”

Id. at 343-44. Commentators agree that preclusion cannot apply in mass torts where

there is “substantial ambiguity regarding the meaning of the prior judgment.” 2

Toxic Torts Guide §13.07 (2019). See also Black v. Ryder/P.I.E. Nationwide, 15

F.3d 573, 581-82 (6th Cir. 1994) (clear error where court “engage[d] in pure

speculation regarding the basis for the general verdict in the earlier case”).

       C.     The court disregarded outcome-determinative fact differences
              among the plaintiffs, and applied preclusion to non-identical and
              non-essential issues that were not actually decided.
       The Abbott-Swartz trial involved many potentially outcome determinative

plaintiff-specific differences from the earlier trials, including DuPont’s knowledge

about which locations had any levels of C8, different levels of C8 in different places



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over time (including whether the levels were above or below DuPont’s own

guideline), and developments in the science of C8 over time—all of which rendered

preclusion improper. Estate of Van Dyke v. GlaxoSmithKline, 2006 U.S. Dist.

LEXIS 114272, *11-14 (D. Wyo. Nov. 1, 2006) (collateral estoppel did not apply

where each case involves “different facts, doses, time frames, diagnoses, warnings

and research”).    Each of the three early trial plaintiffs emphasized individual

circumstances, such as location and timing, to show that DuPont had a duty and

breached it, resulting in foreseeable harm—contrary to the court’s statement that

plaintiff-specific evidence is only relevant to specific causation.          Compare

Transcripts, Freeman R.133, PageID1842-43; Bartlett R.145, PageID6315-16;

Vigneron R.188, PageID8269-70, with Order, MDL R.5285, PageID128575-74.

      An MDL court is not free to disregard black-letter requirements: “The law

governs an MDL court’s decisions just as it does a court’s decisions in any other

case.” Opiate Litig., 956 F.3d at 844. Collateral estoppel requires that the prior case

“actually” decided “the precise issue,” Nat’l Satellite Sports v. Eliadis, Inc., 253

F.3d 900, 908 (6th Cir. 2001) (quotations omitted), and that the issue’s “resolution

was essential to the judgment,” CHKRS, 984 F.3d at 491. Close is not enough—the

“actually” determined issues must be “identical.”        Id.; GE Med. Sys. Eur. v.

Prometheus Health, 394 F. App’x 280, 283 (6th Cir. 2010); United States v. Stauffer

Chem., 464 U.S. 165, 172 (1984) (preclusion applies where the factual differences


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between cases were “of no legal significance whatever in resolving the issue

presented”).

      Here, an important factor in the earlier Freeman and Vigneron trials was each

plaintiff’s claim that DuPont knew for more than 15 years that their drinking water

contained C8 without telling them, even though the amount of C8 sometimes

exceeded DuPont’s safe exposure guideline. See, e.g., Transcript, Freeman R.108,

PageID1678-80 (testimony that DuPont did not disclose C8 in their water until 2002

despite knowledge in 1984). One of the early trial plaintiffs also claimed he

personally was “reassured” by DuPont that his drinking water was safe. Transcript,

Freeman R.133, PageID7673-74. Unlike Mr. Abbott, those plaintiffs lived near

DuPont’s plant, and drank water sourced from wells just 1,500 feet from the plant.

Also unlike Mr. Abbott, they lived downwind and close enough to claim C8

exposure from air emissions, and claimed DuPont was negligent for not using

incineration for air emissions. Transcripts, Vigneron R.141, PageID2130; Freeman

R.107, PageID1516-17.

      The proximity of a plaintiff to the source of emissions bears heavily on the

issues of duty, breach, and foreseeability. See Allen v. Verson Allsteel Press, 957

F.2d 275, 276-77 (6th Cir. 1992) (“the injury occurred in a location where it was not

foreseeable that anyone would be injured, since that location was too far removed

from the ground to present any danger”); Mussivand v. David, 45 Ohio St. 3d 314,


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320-21 (1989) (“The existence of a duty will depend on the foreseeability of the

injury to appellee.”); Palsgraf v. Long Island R.R., 162 N.E. 99, 100-01 (N.Y. 1928)

(“The risk reasonably to be perceived defines the duty to be obeyed…. [A plaintiff]

must show that the act as to him had possibilities of danger so many and apparent as

to entitle him to be protected.”) (emphasis added).

      In contrast to the Freeman and Vigneron plaintiffs, the Abbott-Swartz

plaintiffs lived more than 20 miles away from DuPont’s plant, making their injuries

less foreseeable. Mr. Abbott’s water was drawn from wells that were roughly 50

and 200 times farther away downriver from DuPont’s plant than Freeman’s and

Vigneron’s wells. Transcript, R.192, PageID8292 (Abbott’s water was sourced from

wells 14 and 56 river-miles away—compared to ¼ mile for Freeman and Vigneron);

Exhibit, R.254-3, PageID14012. Mrs. Swartz lived outside the impacted water

districts, and claimed exposure from occasionally drinking water when visiting the

homes of others and during a brief part-time job. See Am. Compl., Swartz R.15;

Response, MDL R.5278, PageID128443-44; Expert Report, Swartz R.51-10,

PageID1411.

      Also, Mr. Abbott did not claim DuPont knew there was any C8 in his water,

and did not claim air emission exposure (he lived upwind from the plant, and his

water wells were also upwind). Transcript, R.186, PageID7384. Mr. Abbott’s

primary liability expert conceded that DuPont did not know—and therefore had no


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duty to warn—about C8 in Mr. Abbott’s drinking water.             Transcript, R.188,

PageID7684-85, 7692-93. Mr. Abbott’s experts also conceded that the C8 levels in

his water never exceeded DuPont’s voluntary safe exposure guideline. Transcript,

R.190, PageID7940, 8044 (DuPont’s water guideline was 3 ppb, and Mr. Abbott’s

exposure was always below 1 ppb). Those differences are crucial to the issues of

duty, breach, and foreseeability. Particularly because it was undisputed that DuPont

did not know that C8 levels below 1 ppb could cause harm, Transcript, R.188,

PageID7704-05, and no studies showed adverse health effects from exposure to C8

at even 50 ppb. Id. PageID7727-28.

      Similarly, timing is crucial in toxic tort cases where the facts span decades.

Here, individual plaintiffs were exposed to C8 at widely different times, and

DuPont’s own knowledge about C8, the state of general scientific knowledge, and

DuPont’s actions to address C8 all evolved greatly over time. See Dodge, 203 F.3d

at 1198-99 (negligence issues in two cases were not identical, because the time

frames relevant to each case were different); Dopson-Troutt v. Novartis Pharm.,

2013 U.S. Dist. LEXIS 134904, *5 (M.D. Fla. Sep. 20, 2013) (no issue preclusion

in toxic exposure case because “the scientific knowledge relevant in [the second

case] and the other plaintiffs’ trials would be different”). As the years pass and new

cases are filed, these differences will compound further.




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      The jury, not the court, should have decided whether it was reasonably

foreseeable to DuPont that injury was likely to a person in the specific position of

Mr. Abbott. See Malcolm v. Nat’l Gypsum Co., 995 F.2d 346, 350 (2d Cir. 1993)

(“The systemic urge to aggregate litigation must not be allowed to trump our

dedication to individual justice.”).

      D.     The court should not have applied preclusion regarding the Ohio
             Tort Reform Act.
      Plaintiff-specific differences are also critical under Ohio’s Tort Reform Act,

O.R.C. §2315.18, which provides a recovery limit for certain types of damages. The

court ruled that DuPont was collaterally estopped from “relitigating” the

“application of the Ohio Tort Reform Act.” Order, MDL R.5285, PageID128554.

As a result, it stated that “the relevant date for determining whether the [Ohio Tort

Reform Act] applies is the date the conduct giving rise to the plaintiff’s cause of

action occurred.” Order, R.245, PageID12331 (holding the Act did not apply to Mr.

Abbott).

      Preclusion cannot apply because the court’s prior decisions on the issue were

inconsistent. See Parklane, 439 U.S. at 330-31 (noting unfairness in estoppel where

prior decisions are inconsistent). Conflicting with the “date of conduct” analysis

noted in Abbott, the court previously held that the application of the Tort Reform

Act “depends on whether the initial injury took place before” the Act’s 2005

effective date. Order, MDL R.4215, PageID81292. This matters, because the early


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trial plaintiffs were all injured long before 2005, and the court therefore “determined

that the Tort Reform Act does not apply.” Order, MDL R.5285, PageID128541,

128569-70. By contrast, the new plaintiffs were injured long after 2005, including

Mr. Abbott (as to his second cancer in 2015).6

       The date of a plaintiff’s injury controls the application of §2315.18. See

Coffey v. Smith & Wesson, 2011 U.S. Dist. LEXIS 2615, *6 (N.D. Ohio Jan. 11,

2011) (collecting cases). The Order ignores the difference between the prior and

current plaintiffs as to timing of their injuries, and eliminates the right to a jury trial

on whether damage cap exclusions apply.

II.    The District Court Erred by Excluding All Expert Testimony and
       Evidence on the Dose-Response Relationship Between Testicular Cancer
       and C8 Blood Levels, and by Allowing Specific Causation Opinions That
       Did Not Consider the Same.
       The “primary issue” in specific causation is “whether there has been exposure

to a sufficient dose to be a likely cause.” FJC, Reference Manual on Scientific

Evidence, Epidemiology at 638 (3d ed. 2011). Yet the district court held that expert

opinions on Mr. Abbott’s dose and his specific resulting amount of increased risk

violated DuPont’s agreement not to contest general causation. Order, MDL R.4226,

PageID81632-35; Order, MDL R.4079, PageID71855. It also ruled that, according


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   Exposure to a potentially-harmful chemical does not create an injury for purposes
of a negligence claim under Ohio law; actual physical or mental harm is required.
Ackison v. Anchor Packing, 897 N.E.2d 1118, 1125-26 (Ohio 2008); see also Rhodes
v. E.I. du Pont de Nemours & Co., 636 F.3d 88, 95-96 (4th Cir. 2011).

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to the Science Panel, exposure to the .05 ppb threshold amount for class membership

was a sufficient exposure to likely cause Mr. Abbott’s cancer. Order, MDL R.5214,

PageID126051. Based on those rulings, the court excluded all scientific evidence

on the dose-response relationship between C8 and testicular cancer, and all evidence

of Mr. Abbott’s actual amount of increased risk from his specific C8 blood level.

Orders R.125, PageID4406-08; R.85, PageID2703; Swartz R.135, PageID4574-78;

Motion, Swartz R.50, PageID1091-93.

       The court’s rulings directly contradict the Science Panel’s findings that the

amount of risk varies greatly with dose, and that some of its data showed that only

“very high” blood levels of C8 materially increase an individual’s risk. Science

Panel Report, MDL R.2813-4, PageID46017, 46019; Science Panel Publication,

R.259-1, PageID18432-34. It also contradicts §3.3 of the Leach Agreement, by

eliminating nearly all of DuPont’s bargained-for right to contest specific causation.

These errors created an unfair playing field, and require reversal as a matter of law.

See Smelser v. Norfolk S. Ry., 105 F.3d 299, 302-03 (6th Cir. 1997) (de novo review

applies to decisions on whether an expert’s reasoning and methodology is

scientifically valid).

       Plaintiffs repeated the district court’s erroneous rulings to the jury, stating that

the Science Panel found that .05 ppb was a “cancer-causing level” of C8—thereby

avoiding any need to prove Mr. Abbott’s actual dose, or actual amount of increased


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risk. Mr. Abbott’s expert, Dr. Pohar, relied on the court’s ruling that .05 ppb was

sufficient exposure to create a likelihood of specific causation—even though Pohar

admitted (outside the presence of the jury) that the Science Panel found no such

thing. Trial Proffer, R.261-2, PageID20038. Dr. Pohar admitted that his specific

causation opinion did not depend on Mr. Abbott’s actual dose of C8, the amount of

C8 in his blood, or his increased risk of cancer from his specific C8 blood level.

      Under the court’s erroneous rulings—which provided the rule of decision for

the jury—the only thing necessary to reach a “cancer-causing” level of C8 for Mr.

Abbott was exposure to the class membership threshold of .05 ppb for one year. See,

e.g., Transcript R.186, PageID7210.        The court also improperly excluded all

opinions that Mr. Abbott’s cancer was more likely caused by his pre-existing germ

cell neoplasia in situ (GCNIS) or idiopathic. Order, R125, PageID4406-08.

      A.     The Science Panel did not find that the minimum threshold
             exposure for class membership, .05 ppb of C8, is likely to cause
             testicular cancer in an individual.
      The cornerstone of the court’s holdings on specific causation – that .05 ppb of

C8 is enough to likely cause testicular cancer – has no factual or scientific basis.

The Science Panel actually analyzed whether there were trends of increasing disease

in persons with higher cumulative blood levels of C8. Science Panel Report, MDL

R.2813-4, PageID46017, 46019. It found a probable link between C8 and testicular

cancer because some of their studies showed that people with higher C8 blood levels



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had a greater cancer risk than those with lower blood levels. Id., 46020-21. The

Science Panel never found that barely-quantifiable low exposures (like .05 ppb)

create a material risk of testicular cancer—much less is likely to cause cancer.

       In fact, the Science Panel’s Report showed that people outside of the highest

levels of exposures had less testicular cancer than the national average.          Id.,

PageID46019 (“there was little or no evidence of increasing risk in analyses from

the same cohort compared with the US population”); id., PageID46017 (comparison

to the US population showed an “overall deficit” of testicular cancer); see also

Science Panel Publication, R.259-1, PageID18433. As confirmed by a Science

Panel member, there was no finding that exposure to .05 ppb of C8 increased the

risk of cancer at all:

       The Science Panel was not asked to and did not address the question of
       whether there was any increased risk of cancer from exposure to 0.05 parts
       per billion in drinking water.

Trial Proffer, R.261-2, PageID20046-47 (emphasis added); Savitz Aff., MDL

R.5271-2, PageID128205. Indeed, in a proffer (not before the jury), Mr. Abbott’s

expert also readily agreed that the Science Panel “did not conclude as a matter of

science that .05 parts per billion of C8 in drinking water is capable of causing

testicular cancer.” Trial Proffer, R.261-2, PageID20038.

       Tellingly, the Science Panel never even mentioned .05 ppb in its Probable

Link Report. Science Panel Report, MDL R. 2813-4, PageID46010, 46014, 46020-


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21. The Science Panel’s subsequent peer-reviewed published papers also did not find

that infinitesimally small amount of .05 ppb to be scientifically meaningful at all.

Science Panel Publication, R.259-1, PageID18430-35; Science Panel Publication,

R.261-6, PageID20133-31. Even in the Leach Agreement, .05 ppb was nothing but

a parenthetical explanation of what was a “quantifiable” amount of C8 based on

analytical chemistry at the time, to make the class as large as possible for medical

monitoring.   Agreement, §2.1.1, MDL R.2813-1.           Indeed, .05 ppb was the

“minimum” concentration of C8 that could “be determined with known precision

and accuracy” when the Agreement was signed in 2004. Transcript, MDL R.4228-

2, PageID81678.

      As explained in Rhodes v. E. I. Du Pont de Nemours & Co., 253 F.R.D. 365,

375 (S.D.W.V. 2008), the .05 ppb number in the Leach Agreement has no

significance other than to define class membership. The Rhodes court recognized

“[t]hat level did not constitute a concession by DuPont about the quantity of C8 that

must be in drinking water to effect a significant exposure.”         Id.    The court

misunderstood these basic facts, commenting “the whole point of the Science Panel

was that very low doses of this is dangerous .... at only .05 parts per billion.”

Transcript, R.261-2, PageID20002, 20006.

      Based on that error, the court prevented DuPont’s experts from giving

causation opinions based on the Science Panel’s report and its dose-response data as


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applied to Mr. Abbott’s blood level, and excluded all cross-examination of Mr.

Abbott’s experts about Mr. Abbott’s actual amount of increased risk of testicular

cancer based on his specific blood level of C8.         See, e.g., Transcript, R.195,

PageID8840-41. The district court also excluded all opinions that Mr. Abbott’s

cancer was more likely caused by something other than C8, including all opinions

weighing the risk of cancer from his specific C8 blood level. See Order, R.125,

PageID4406-08; Order, Swartz R.135, PageID4574-78. Yet Mr. Abbott’s measured

C8 blood level was 33.1 ppb, which is far lower than the “very high” category (110

to 655 ppb (µg/L))—the only category in one of the Science Panel’s studies for

which the data showed the potential for a materially increased risk of cancer.

Science Panel Publication, R.259-1, PageID18432-34; Science Panel Report,

R.2813-4, PageID46017-19.

      This error was especially prejudicial, because Plaintiffs’ experts testified

(contrary to the actual facts) that Mr. Abbott’s risk from C8 was very high—and

purported to rely on the Science Panel’s report and data for that conclusion (see, e.g.,

Transcript, R.198, PageID9429-30). Yet the court barred all cross-examination

about “increasing risk of disease with increasing blood levels of C-8,” and prohibited

all cross-examination or testimony about the Science Panel’s actual data. Transcript,

R.198, PageID9441-43 (barring questions); see also id., PageID9459 (barring

questions about the Science Panel and published papers, despite Abbott’s expert’s


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testimony that he relied on those publications). Throughout the Abbot-Swartz trial,

the court rejected DuPont’s many attempts to question experts on the dose-response

relationship between an individual’s C8 blood-levels and the amount of risk of

cancer. Transcript, R.200, PageID9805-06 (rejecting DuPont’s proffer); Transcript,

R.198, PageID9459 (same); Trial Proffer, R.261-2, PageID20038, 20046-49. The

court even rejected the jury’s request to see the Science Panel’s report at the start of

deliberations. Jury Questions, R.178-1, PageID6857, 6861 (“Can we use/see the

2012 Science Panel Report?”).

      B.     Mr. Abbott’s specific causation expert should have been excluded
             because he premised his unscientific opinions on the trial court’s
             erroneous rulings on the Science Panel Report, rather than Mr.
             Abbott’s own dose.
      The court held before trial that DuPont’s agreement not to contest general

causation allowed Plaintiff’s specific causation expert, Dr. Pohar, to opine that C8

likely caused Mr. Abbott’s cancer without considering Mr. Abbott’s dose, C8 blood

level, or his resulting amount of increased risk from C8. See R.63, PageID1609

(DuPont motion to exclude Dr. Pohar); Order, R.108, PageID3817 (denying

DuPont’s motion). This ruling was contrary to both DuPont’s reservation of specific

causation as a defense under §3.3 of the Leach Agreement, and this Court’s decision

in Pluck v. BP Oil Pipeline Co., 640 F.3d 671, 679 (6th Cir. 2011), which requires

specific causation opinions to analyze the dose-response relationship where a

chemical exposure is claimed to have caused disease. Under Ohio law, even where


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general causation is already proven, “[t]he mere coincidence of exposure and the

appearance of a disease is never sufficient to prove causation in an individual

instance.” Marcus v. Rusk Heating & Cooling, 2013-Ohio-528, ¶46 (Ct. App.)

(emphasis added) (quoting Valentine v. PPG Indus., 821 N.E.2d 580, 597 (Ohio Ct.

App. 2004)).

      Violating these fundamental requirements, the court allowed Dr. Pohar to give

a specific causation opinion based solely on class membership (exposure to the

minimal .05 ppb).     Order, R.108, PageID3823 (incorporating MDL R.4079).

Accordingly, Dr. Pohar admitted he performed no analysis of the actual amount of

increased risk of cancer created by Mr. Abbott’s specific dose of C8:

      Q.     Recognizing that C-8 is capable of causing testicular cancer, did you do
             anything to assess the relative risk associated with C8 and testicular
             cancer?

      A.     I relied on the expert report of Dr. MacIntosh, who determined that Mr.
             Abbott was a class member.

      Q.     Aside from the mere - the fact that Mr. Abbott is a class member, did
             you do anything else to evaluate the relative risk of C-8 causing
             testicular cancer in this case?

      A.     No.

Transcript, R.195, PageID8842-43 (emphasis added).

      In a proffer outside hearing of the jury, Dr. Pohar admitted his opinion and

reasoning about specific causation for Mr. Abbott was premised only on class

membership (i.e., exposure to .05 ppb), not any medical or scientific analysis of Mr.

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Abbott’s relative risk from his specific blood level of C8. Transcript, R.261-2,

PageID19999 (“Q. And based on the fact that Mr. Abbott is a Leach class member,

you determined that he had a sufficient level of exposure to C8 to cause his testicular

cancers; is that fair? A. That’s fair. He met the definition of a class member.”). Dr.

Pohar did not even know Mr. Abbott’s C8 blood levels, exposure category, or

amount of increased risk from his specific dose of C8.             Transcript R.63-2,

PageID1689-92; see also id., PageID1692, 1715 (same). And Dr. Pohar did not even

consider what Mr. Abbott’s C8 blood level was when either of his cancers started—

or at any other time. Transcript, R.261-2, PageID20009 (“I have no knowledge

about what Mr. Abbott’s levels were.”).

      The court thus allowed Dr. Pohar to improperly assume that DuPont’s

agreement not to contest general causation (that the substance C8 is capable of

causing the disease testicular cancer) was enough to prove specific causation as to

Mr. Abbott. Transcript, R.195, PageID8839. After a colloquy initiated by the court,

Dr. Pohar again affirmed before the jury that class membership was enough for him

to opine that C8 likely caused Mr. Abbott’s cancer. Id., PageID8842-43.

      Underscoring the unfair prejudice to DuPont, at the same trial Mrs. Swartz’s

specific causation expert bolstered Dr. Pohar by opining that exposure to even “one

molecule of C-8” was a sufficient amount of C8 to be a likely cause of cancer so

long as the plaintiff “was deemed to be a class member.” Transcript R.198,


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PageID9441-43 (emphasis added). Like Dr. Pohar, that expert relied entirely on the

court’s decisions on the Science Panel, and made no attempt “to quantify the amount

of increased risk” from C8 based on the individual’s actual blood level of C8. Id.,

PageID9434; see also R.190, PageID7909 (asking expert to assume, based on the

court’s interpretation of the Science Panel, that drinking .05 ppb of C8 can cause

cancer). Moreover, DuPont’s cross-examination was extraordinarily limited, as the

court categorically barred any cross-examination about “increasing risk of disease

with increasing blood levels of C-8,” or the Science Panel’s actual data. Transcript,

R.198, PageID9441-43, 9459.

      Plaintiffs’ closing argument capitalized on the unfair prejudice allowed by

these errors. Relying on the court’s orders, Plaintiffs claimed it was “undisputed”

that C8 is a “causative risk factor” “at this level, at 0.05 ppb of exposure for one

year.” Transcript, R.206, PageID10973. Repeating the court’s rulings, Mr. Abbott’s

lawyers also told the jury that the “the level [of C8] does not matter” for specific

causation and that “the only dose that matters is .05 ppb for one year of exposure.”

Id., PageID11016 (emphasis added).




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      C.     The court erred by allowing Plaintiffs to tell the jury that the class
             membership threshold, .05 ppb of C8, was a sufficient amount to
             likely cause Mr. Abbott’s cancer.
      The court allowed Mr. Abbott to repeatedly and prejudicially state that

exposure to .05 ppb of C8 was enough for C8 to be a likely cause of his cancer.

DuPont repeatedly asked that the .05 number be excluded from trial, since it was

only relevant to class membership (which was not disputed). Notice of Preservation,

R.119 (listing objections); Proposed Jury Instruction, R.165-1, PageID6303 (.05 will

“confuse and mislead”). Transcript, R.129, PageID4768 (“0.05 should not come into

the trial”); Transcript, R.185, PageID7136-37 (arguing the court’s .05 rulings would

mislead the jury to believe that C8 is the most toxic chemical on Earth).

      The court denied DuPont’s objections, refused DuPont’s requests for limiting

instructions, and instead turned DuPont’s agreement not to contest general causation

(that the substance C8 is capable of causing cancer) into a concession on specific

causation (that Mr. Abbott’s specific dose of C8 likely caused his cancer). Over

DuPont’s objections, the court allowed Plaintiffs to tell the jury throughout trial that

the Science Panel found that .05 ppb was a “cancer-causing level” of C8. Transcript,

R.186, PageID7210 (“cancer causing level of 0.05”), 7211 (“cancer causing levels”),

7262 (“cancer causing levels”), 7270 (“cancer causing levels”); Transcript, R.206,

PageID10973 (“known and irrefutable” that “causative risk factor … at this level,

0.05”), 10983 (“.05 [ppb] qualifying cancer-causing level of C-8”).



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      The false claim that .05 ppb was a “cancer-causing level” of C8 allowed Mr.

Abbott’s class membership expert, David MacIntosh, Sc.D. (who knew nothing

substantive about causation, or any of the medical evidence), to testify that multiples

of .05 ppb created even more danger. He listed the amount of C8 in Mr. Abbott’s

water for every year in which it exceeded .05 ppb. Transcript, R.190, PageID7941.

He added those amounts together to get “93.5,” and then stated that Mr. Abbott was

exposed to more than 93 times the amount of C8 that was enough to specifically

cause Mr. Abbott’s cancer, as summarized in this slide:




Slide, R.261-1, PageID19936

      Despite DuPont’s objections, Plaintiffs’ counsel then told the jury that Dr.

MacIntosh’s analysis showed that Mr. Abbott “was exposed to enough C-8 that it

was over 93 times greater than was needed to prove it caused testicular cancer.”

Transcript, R.186, PageID7211-12 (emphasis added). They claimed “this is the


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evidence of the dose … Travis had of the poison that was C8.” Id. Yet it was just

addition applied to the court’s erroneous .05 ruling, dressed up as an expert opinion.

Dr. MacIntosh did not determine that Mr. Abbott’s intermittent exposure to small

amounts of C8 likely caused his cancer, nor that it meaningfully increased his

individual cancer risk at all—much less by 93 times. Transcript, R.190, PageID7907

(MacIntosh assumed that exposure to .05 ppb was capable of causing Mr. Abbott’s

testicular cancer). In short, the court’s ruling substituted the .05 ppb number for any

actual analysis of the issues that should make up specific causation.

      DuPont’s prediction of jury confusion regarding the .05 number, see Proposed

Jury Instructions, R.164-3, PageID6289; R.164-4, PageID6290, was proven during

deliberations. See Jury Question, R.178-1, PageID6860 (commenting that another

juror did not “consider as fact that the Science Panel determined that … .05 ppb for

at least one year as linked to testicular … cancer,” and referring to proximate cause).

After this juror question, the court again refused DuPont’s request that “the jury be

instructed that the 0.05 [ppb] has nothing to do with specific causation.” Transcript,

R.208, PageID11183.

      D.     The court erred by excluding all opinions that Mr. Abbott’s cancer
             was more likely caused by GCNIS, or idiopathic.
      The court further erred by barring all expert opinions that an alternative

explanation was more likely than C8 to have caused Mr. Abbott’s cancer, again on

the basis that such opinions interfered with DuPont’s agreement not to contest


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“general causation.” See Orders, MDL R.4226, PageID81632-35; Swartz R.166,

PageID6453-57 (limiting expert testimony). The most relevant alternative cause for

Mr. Abbott was germ cell neoplasia in situ (GCNIS), a preexisting condition that

exists from birth, triggered by hormone surges at puberty. Transcript, R.201,

PageID9975. GCNIS is a precursor of testicular cancer. Id., PageID9975-76. Both

Mr. Abbott’s expert (Dr. Pohar), and DuPont’s expert, (Dr. Nichols), agreed on

numerous key facts regarding this alternative explanation for Mr. Abbott’s cancers,

including:

      (a) GCNIS is a causative risk factor for testicular germ cell tumors, the precise
          type of testicular cancers Mr. Abbott had in 1994 and 2015;7

      (b) GCNIS is not caused by C8;8

      (c) GCNIS nearly always develops into testicular cancer;9 and

      (d) GCNIS was present in Abbott’s testicle that was removed in 2015.10

These undisputed facts provided substantial evidence that GCNIS was a highly

likely cause of Mr. Abbott’s testicular cancers.




 7
   Transcript, R.201, PageID9975 (Nichols); Transcript, R.261-2, PageID19994-95
(Pohar).
 8
  Transcript, R.195, PageID8844 (Pohar). GCNIS was also present at the time of
Mr. Abbott’s 1994 orchiectomy.
 9
   Transcript, R.201, PageID9924-35, 9974 (Nichols); Transcript, R.261-2,
PageID19994-95 (Pohar).
 10
      Transcript., R.195, PageID8831.

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      But the court—over DuPont’s objections—barred DuPont’s expert Dr.

Nichols from opining that Mr. Abbott’s cancer had any cause that was more likely

than C8. Order, R125, PageID4406-08 (holding such an opinion would interfere

with the Science Panel’s findings). And the court allowed Dr. Pohar to claim there

was “no information” on GCNIS in Mr. Abbott’s 1994 medical records, Transcript.,

R.195, PageID8825, even though histologic slides from the 1994 orchiectomy

plainly show GCNIS. Id., PageID8864-67 (excluding 1994 slides from trial).

      In accordance with its pre-trial ruling, the court affirmatively prevented Dr.

Nichols from presenting evidence that GCNIS was more likely than C8 to be the

cause of Mr. Abbott’s cancer. DuPont’s expert Dr. Nichols was preemptively barred

from opining that the evidence that GCNIS actually caused Mr. Abbott’s cancer was

“overwhelming,” and the “likelihood is that from the day Mr. Abbott was born, he

was destined to have testicular cancer.”11 Transcript, R.65-2, PageID2090. Indeed,

the court explicitly told the jury that Dr. Nichols was “not going to give you his

opinion on the specific causation of the testicular cancer.” Transcript, R.201,

PageID9936-38, 9942-44, 9950-53, 9975, 9976-78.




 11
   During trial, the court said Dr. Nichols failed to offer causation opinions, but the
court had earlier excluded his affirmative causation opinions under its prohibition
on any opinions that something other than C-8 more likely caused Mr. Abbott’s
cancer. See, e.g., Order, R.125, PageID4406-07.

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      Both specific causation experts further agreed that the vast majority of

testicular cancers are idiopathic, meaning that they result from unknown causes.

Transcript, R.261-2, PageID19948; Transcript, R.201, PageID9994. In a differential

etiology, an expert considers all relevant potential causes of the symptoms to

eliminate various alternative causes. See Reference Manual on Scientific Evidence

at 617-18. As this Court has recognized, a differential etiology, as was purportedly

used by Dr. Pohar, is not sufficient to prove specific causation where a disease is

largely idiopathic. Tamraz v. Lincoln Elec. Co., 620 F.3d 665, 675 (6th Cir. 2010)

(idiopathy is “impossible to ignore and difficult to rule out” in a differential

etiology).

      “Where the cause of the condition is unknown in the majority of cases,” a

differential etiology that only takes exposure into account without assessing the

actual risk cannot logically conclude the exposure was “the most probable cause.”

Bland v. Verizon Wireless, 538 F.3d 893, 897 (8th Cir. 2008). This is because the

most probable cause is still “unknown” unless the actual risk from the chemical

exposure can be estimated. Id.; Reference Manual on Scientific Evidence at 618

(differential etiology is “of little benefit” in evaluating the cause of “diseases for

which the causes are largely unknown”).

      Although Dr. Pohar’s exclusion of unknown cause (idiopathy) was

inadequate, R.261-2, PageID19948-49, the trial court had already ruled that


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idiopathy would not be allowed as a defense. See Order, R.108, PageID3817

(denying DuPont’s motion to exclude Dr. Pohar); Order, Freeman R.66, PageID862

(barring idiopathy attacks on plaintiff’s experts); Order, MDL R.4532,

PageID98553-55 (barring idiopathy opinions from DuPont’s experts). While he

never analyzed Mr. Abbott’s amount of increased risk from his specific dose of C8,

Dr. Pohar claimed that the mere presence of C8 meant that the cancer could “not be

idiopathic anymore.”       Transcript, R.198, PageID9364; Transcript, R.261-2,

PageID19948-49 (claiming that cancer is only idiopathic if no risk factor is present).

Because Dr. Pohar provided no rational basis for excluding idiopathic causation, the

court erred by admitting his differential etiology opinion under Tamraz.

III.   The District Court Erred by Ruling in Favor of Mr. Abbott as a Matter
       of Law on the Statute of Limitations.
       Mr. Abbott did not file his lawsuit for his 1994 and October 2015 cancers until

November 14, 2017, and it is thus time-barred by Ohio’s two-year statute of

limitations. O.R.C. §2305.10(A). DuPont presented extensive evidence of early

inquiry notice, including that Mr. Abbott released his testicular cancer information

to the Science Panel in 2006 to determine if his health had been affected by drinking

water containing C8. But the court took the limitations issue away from the jury,

ruling as a matter of law that under Ohio’s objective test for notice, DuPont’s

documentary evidence was irrelevant unless DuPont could call a witness to testify

that Mr. Abbott had actual notice of the connection between C8 and testicular cancer.


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Transcript, R.205, PageID10857, 59; Order, R.241, PageID1222. The court also

erred by finding that the statute of limitations on Mr. Abbott’s October 2015 cancer

did not begin to run until a pathologist examined the testicle after it had been

removed to confirm the cancer beyond all doubt.

      A.     The issue of when Mr. Abbott had notice of a link to C8 should have
             been decided by the jury.

             1.    Extensive evidence supported DuPont’s statute of limitations
                   defense.
      Ohio’s statute of limitations incorporates a discovery rule and includes an

objective standard for when the two-year period starts to run:

      [A] cause of action for bodily injury…that is caused by exposure to
      hazardous or toxic chemicals…accrues upon the date on which…by the
      exercise of reasonable diligence the plaintiff should have known that the
      plaintiff has an injury that is related to the exposure.

O.R.C. §2305.10(B). The statute of limitations begins when a plaintiff “discovered

or should have discovered” both the injury and that the injury “was the result of

[defendant’s] wrongful conduct.” Twee Jonge Gezellen, Ltd. v. Owens-Illinois, Inc.,

238 F. App’x 159, 162 (6th Cir. 2007). Mr. Abbott knew he was injured in 1994, so

all he needed was “an ‘indication of wrongful conduct of the defendant.’” Id. at 163

(emphasis in original).

      The limitations period runs on inquiry notice, once “a plaintiff discovers or,

through the exercise of reasonable diligence, should have discovered some definitive

information that would reasonably warrant investigation.” Browning v. Burt, 613


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N.E.2d 993, 1006 (Ohio 1993). The “key … is the word ‘reasonable,’” and “[i]t is

a trier of fact’s job to determine what is reasonable.” Laipply v. Bates, 849 N.E.2d

308, 312 (Ohio Ct. App. 2006) (emphasis added).

      Here, there was abundant evidence of widely publicized information in Mr.

Abbott’s community that C8 was linked to testicular cancer, that Mr. Abbott was

sent actual court approved class notice, in addition to having other notice, and that a

reasonable person should have had “an indication” that his testicular cancer was

related to C8 far more than two years before Abbott filed his 2017 lawsuit. Twee,

238 F. App’x at 162-63. For example:

    In 2001, Leach was filed on behalf of Mr. Abbott and other class members,
     demanding medical monitoring, and alleging that C8 from DuPont’s plant
     might cause cancer. In 2004 and 2005, settlement notices were mailed to the
     class members, including family members of Mr. Abbott, which widely
     publicized the potential for future individual personal injury claims, and the
     work to be done by the Science Panel. Casey Decl., R.170-1, PageID6498-
     99; 2004 Notice, R.170-1, PageID6503-6508; Transcript, R.204,
     PageID10813-15; see, e.g., SOL Brief, R.50, PageID1180-91; see also Order,
     MDL R.4215, PageID81296-97 (discussing notices).

    In 2006, Mr. Abbott enrolled in the C8 Health Project, which was established
     after the Leach settlement, and he disclosed his 1994 testicular cancer when
     completing a “C-8 Health Questionnaire.” Questionnaire, R.252-1,
     PageID12411, 12430. In return for payment of several hundred dollars, he
     agreed to have his blood tested for C8, that the “C-8 Science Panel” would
     review his medical records, and that the “purpose of the project” was “to find
     out if your health has been affected by the drinking water in your area.” Id.;
     PageID12411, Transcript, R.197, PageID9210-11. Mr. Abbott’s parents and
     siblings, who knew of his testicular cancer, also participated in the C8 Health
     Project. Transcripts, R.194, PageID8633, 8660; R.196, PageID8905-07;
     R.197, PageID9102-06.


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 The media extensively covered the work and findings of the C8 Health Project
  and the C8 Science Panel. In 2004, the local newspaper ran a front-page
  article about the Leach settlement that, on the next page, discussed
  scholarships earned by Mr. Abbott and his siblings. Transcript, R.197,
  PageID9199-9201; Newspapers, R.172-6, at 2-3, R.172-8, at 2, 4. In 2012
  and 2013, local media publicized the Science Panel’s finding of a probable
  link between C8 and testicular cancer; the Science Panel held numerous public
  meetings about its findings; and court-approved “Probable Link” notices were
  sent to class members. E.g., Newspapers, R.172-17, PageID6693; R.172-15,
  PageID6672; R.253-1, PageID12883; R.172-14, PageID6655. For example,
  Mr. Abbott’s local community newspaper in Pomeroy, Ohio, had front-page
  headlines in 2012 connecting C8 to testicular cancer:




   Transcript, R.197, PageID9226-28; Exhibit R.253-1, PageID12882.

 In 2014, another court-approved notice was mailed to all class members,
  including Mr. Abbott, explicitly stating the Science Panel found a Probable
  Link between C8 and testicular cancer. Legal Notice, R.170-1, PageID6499-
  500, 6571. The court, however, improperly denied DuPont’s request for
  judicial notice of that class notice under Evidence Rule 201. Transcripts,
  R.204, PageID10584-85; R.205, PageID10842-47; R.202, PageID10200-01.



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    In 2014, Mr. Abbott’s grandparents and his secretary sued DuPont in
     connection with Probable Link diseases. Transcripts, R.197, PageID9231-35;
     R.196, PageID8909-10. Indeed, by January 2015 more than 3,500 other
     individuals from Mr. Abbott’s local community had also filed individual
     lawsuits against DuPont claiming various injuries they claimed were caused
     by C8—including numerous testicular cancer claims.

      These undisputed facts raised, at the very least, a jury question about when a

reasonable person in Mr. Abbott’s position would have the requisite notice to start

the limitations period. Indeed, widespread publicity or a mailed notice is often

enough to charge a plaintiff with that notice as a matter of law. Hughes v. Vanderbilt

Univ., 215 F.3d 543, 548 (6th Cir. 2000) (recognizing that inquiry notice is an

objective standard, and that local front page “publicity was sufficient to charge

[plaintiff] with constructive knowledge of the events underlying her cause of action,”

despite the plaintiff’s denials of knowledge). Contrary to the court’s ruling here,

DuPont has not found any court holding that a simple denial by the plaintiff is

enough to remove the issue from the jury.

      In addition, as a class member, Mr. Abbott agreed through his class counsel

that the Leach Agreement’s multi-pronged class notice program provided “due and

sufficient notice of the matters set forth in the Notice,” without any actual notice

requirement. Leach Agreement, §2.1.2(d), MDL R.2813, PageID45929. The class

notice program included the 2012 and 2014 notices that “the Science Panel has found

that a ‘Probable Link’ exists for ... testicular cancer.” 2014 Notice, R.170-1,

PageID6565 (urging class members to be “screened for testicular cancer”).

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             2.    The court improperly denied DuPont’s right to reasonable
                   inferences as the nonmoving party.
      Ignoring the compelling evidence of notice described above, the court

erroneously required DuPont to produce a witness that Mr. Abbott was actually,

subjectively aware of the link between C8 and testicular cancer two years prior to

filing suit. Transcript, R.197, PageID9192-93 (requiring “someone who can refute

[Mr. Abbott’s] testimony”). This used the wrong standard for notice, improperly

took the issue from the jury, and would allow any plaintiff to avoid the limitations

period by simply claiming “I did not know.” But, as the Supreme Court has held,

“[c]redibility determinations, the weighing of the evidence, and the drawing of

legitimate inferences from the facts are jury functions, not those of a judge.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (emphasis added).

      The jury has the right to accept, or reject as not credible, any part of any

witness’ testimony—including Mr. Abbott’s. Toledo v. Schmiedebusch, 949 N.E.2d

504, 509-10 (Ohio 2011) (“a sworn denial of receipt by [a letter’s] addressee creates

a question of fact for the jury”). Here, the court improperly construed the evidence

about notice against the nonmoving party, DuPont, who instead should have been

“given the benefit of all reasonable inferences from the evidence.” Donaldson v. N.

Trading Co., 612 N.E.2d 754, 757 (Ohio Ct. App. 1992). The jury could readily

have found that a person like Mr. Abbott exercising reasonable diligence would have

been on at least inquiry notice about a claim against DuPont for his 1994 cancer


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before November 14, 2015 (two years before he filed suit), which would bar his

claim.12

      B.      The issue of when Mr. Abbott had notice of his 2015 cancer also
              should have been submitted to the jury.
      This Court should also reverse the district court’s judgment regarding Mr.

Abbott’s 2015 cancer, and remand for a new trial. By November 5, 2015, “testicular

cancer” was noted on Mr. Abbott’s medical records, and he had seen numerous

specialists who told him that the mass in his remaining testicle was “highly likely”

to be testicular cancer and that “he needed to have the testicle removed as soon as

possible.”    See Motion, R.50, PageID1195 (listing evidence); Motion, R.169,

PageID6478. The court, however, found as a matter of law that the statute of

limitations did not begin to run until after the pathologist examined the testicle once

it was removed, and confirmed the cancer beyond all doubt.                Order, R.131,

PageID4866-67; see Transcript, R.205, PageID10857.

      This ruling is contrary to Ohio law, which holds that “the date of diagnosis is

not the appropriate date to begin the tolling of the statute of limitations if [plaintiff]

should have become aware at an earlier date that he had been injured.” Bajzel v. Air


 12
    The 2005 Leach Agreement tolled the start of the time for filing Mr. Abbott’s
personal injury claims until January 2013, after the Science Panel issued its probable
link findings. See Notice, MDL R.820-12, PageID11863. Mr. Abbott then had two
years (until January 2015) to file suit for his 1994 cancer under Ohio’s statute of
limitations. O.R.C. §2305.10(A).



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Tool Serv., 1990 Ohio App. LEXIS 2257, *6-7 (June 7, 1990). The occurrence of a

“cognizable event”—such as a doctor insisting on the removal of a cancerous

testicle—triggers the running of the statute of limitations, and imposes upon the

plaintiff the duty to investigate. Yaceczko v. Roy, 2001 Ohio App. LEXIS 52, *7-8

(Jan. 10, 2001) (after a cognizable event, it is “incumbent on that individual to

investigate his or her case completely”). The issue of when there was a “cognizable

event” with respect to the 2015 cancer should have been decided by the jury.

                                  CONCLUSION
      Each of the district court’s errors described above requires reversal and

remand for further proceedings.

                                          Respectfully submitted,


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                      CERTIFICATE OF COMPLIANCE
      In accordance with Fed. R. App. Proc. 32(g), I certify that this brief is written

in 14-point Times New Roman font, and contains 12,960 words, exclusive of the

material not counted under Fed. R. App. Proc. 32(f) and 6 Cir. R. 32(b)(1).




                                              /s/ Damond R. Mace
                                              Damond R. Mace
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                           CERTIFICATE OF SERVICE
       I hereby certify that on July 21, 2021, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

system.



                                             /s/ Damond R. Mace
                                             Damond R. Mace
